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UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

DISTRICT OF DELAWARE
PDF FILE WITH AUDIO FILE ATTACHMENT

      23-10831

      Lordstown Motors Corp.




      Case Type :                       bk
      Case Number :                     23-10831
      Case Title :                      Lordstown Motors Corp.
      Judge :                           Mary F. Walrath
      Courtroom :                       5th Floor Courtroom 4, Wilmington, DE
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